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                                        UNITED STA"fES DISTRICT COURT
                                      EASTERN DISTRICT OF PENNSYLVANIA


          IN RE REMICADE A~TITRUST                            CIVIL ACTION
          LITIGATION
          This document relates to:
          Indirect Purchaser Actions                          No. 17-cv-04326 (consolidated)
          Direct Purchaser Actions                            No. 18-cv-00303 (consolidated)


          PFIZER INC.,                                        CIVIL ACTION
                         Plaintiff.
          v.                                                  No. 17-cv-04180
          JOHNSON & JOHNSON and JANSSEN
          BIOTECH, INC.,
                         Defendants.


          WALGREEN CO. and THE KROGER                         CIVIL ACTION
          co ..
                         PlaintiffS,
                                                              No. l 8-cv-02357
          v.
          JOHNSON & JOHNSON and JANSSEN
          BIOTECH, INC.,
                         Defendants.


                  ORDEl~      SEll'ING PI~E,:r~I~L.SJ::IJEDULE A~D-Q.EPOSITION LIMITS

                  Consistent with the Court's rulings at the Ruic l 6 case management conference on

          September 27, 2018, the Court orders the fol1owing:

                  1.     The following limits shall apply to party depositions:

                         a.       Defendants arc subject to a total of 20 party depositions. PlaintiflS will

                                  coordinate in the taking of those depositions.

                         b.       Plaintiff Pfizer Inc. is subject to a total of 20 party depositions by

                                  Detbndants.
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                         c.      Each of the direct purchaser class plaintifTs, indirect purchaser class

                                 plaintiffs, and Plaintiffs Walgreen Co. and the Kroger Co. is subject to two

                                 party depositions by Defendants (a total of twelve depositions).

                         d.      Individuals and entities afliliatcd with the parties, including current and

                                 former employees, shall count toward the party deposition limits.

                  2.     The following procedure shall apply for counting Rule 30(b)(6) depositions

          toward the deposition limits set forth in this Order:

                         a.      Any Rule 30(b)(6) deposition of a named party counts as l deposition no

                                 matter the   num~r   of witnes:ses designated to t<::stify, unless the deposition

                                 exceeds 7 hours. In the event that a Ruic 30(b)(6) deposition exceeds 7

                                 hours, the additional hours shall count as an additional deposition or the

                                 pro rata portion of an additional depo:;ition (e.g .• if a Rule 30(b)(6)

                                 deposition lasts 14 hours, it shall count as 2 depositions out of the total

                                 party depositions allocated per side; if a Rule 30(b)(6) deposition lasts

                                 10.5 hours. it shall count as 1~ depositions oul of the total party

                                 depositions allocated per side).

                         b.      Subject to the pcrwside deposition cap. the parties arc not precluded from

                                 seeking the deposition of a Rule 30(b)(6) dcsigncc in their individual

                                 capacity, which will count as an additional deposition.

                  3.     The following limits shall apply to third party depositions:

                         a.      Each side (i.e.. all PlaintiITs constituting one side and Defendants

                                 constituting the other side) may take up to 45 third-party depositions.

                         b.      Third-party depositions will not count toward the per-side deposition cap




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                                for party depositions.

                         c.     If only Plaintiff(s) or only J&J has noticed the third party's deposition, the

                                noticing party will be allowed up to six hours of examination, allowing the

                                other side up to one hour of examination.

                         d.     In th~ event Plaintiff(s) and J&J notice the same deposition, Plaintiff(s)

                                and J&J will each be allocated three-and-a-half hours of examination time.

                         e.      lf one: side does not use its full allotted time for all examinations of the

                                witness (including direct and re.direct), the other side may use any

                                remaining time for their examination.

                         f.     Plaintiffs collectively count as one side for purposes of these allocations.

                 4.      Notwithstanding the limits set forth above, the parties may seek leave from the

          Court for additional examination time or to exceed the limits if they reasonably and in good faith

          believe such additional examination time or depositions are necessary.

                 5.      The following pretrial deadlines shall apply in the above-captioned cases:

                                   EV£ftt                                          Deadline

           Ruic 26(a) initial disclosures due                       October 1I • 20 t 8


            Defendants produce, from April 1, 2014 to                December 11, 201 8
            September 27, 20 t 8, (i) in-house Lransaction-level
            data for Remicade sales, and (ii) executed contracts
            and signed agreements relating to the purchase,
            reimburscmcnl, coverage, discounting, or rebating of
            Remicade; Pfizer produces, from Apri I 1, 2014 to
            September 27, 2018, (i) in-house transaction-level                                                 .
                                                                                                               I
            data for lntlcctra sales and (ii) executed contracts and                                           I
            signed agreements relating to the purchase,
          · reimbursement, coverage, discounting, or rebating of
            Intlcctra; DPPs and retailers produce, from April 1.
            2014 to September 27, 2018. (i) in-hou.c;e transaction..
            level data for all purchases of infliximah products
            and (ii) executed contracts and siszned aizreements


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                                        Even'                                                             Deadline
              relating to the purchase of infliximab products from
                                                                                                                                            I
              Defendants, Pfizer, and/or Merck; and IPPs produce.
              from April l, 2014 to September 27, 2018, (i) in-
              house tnmsaction-level data for all reimbursements
              of inniximab products and (ii) executed contracts                                                                                I
              and signed agreements relating to the purchase,
              reimbursement, coverage, discounting, or rebating of                     I                                                       '
                                                                                                                                               i
              int1iximab products                                                                                    ..... __ ., .. ___._._,
              Substantial completion of document productions                               May 24. 2019


              Close of fact discovery                                                      January 27. 2020


            Plaintiffs shall identify and submit Curriculun1 Vitae January 27. 2020
          , for all expert witnesses on or before


              Plaintiffs' Expert Reports {class and merits)                                March 2. 2020

                                                                                  -·-··-
              DPP and !PP Class Certification Motions                                      March 2, 2020


              Defendants shall identity and submit Curriculum March 9, 2020
              Vitae for all expert witnesses on or before



              Defendants' Expert Reports (class and merits)                                May 4, 2020


              Defendants' Opposition to Motions for Class May 4, 2020
              Certification including any motions challenging
              Plaintiffs' Expcrt(s) re class
                                                                    -.....
                                                       ..............        ._

              Plaintiffs' Rebuttal Expert Reports (class and merits)                       June J, 2020


            DPP and IPP Replies m Support of Class June 1, 2020
            Cc:rtification. including oppositions to any motions
          , challenging PlaintifTs' Expcrt(s) re class
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              Dcfondants' reply on any motion challenging June 22, 2020
              Plaintiffs' Expcrt(s) re class                                                                         '
                                                                                                                     I
                                                                                                                     I
              Close of Expert Discovery (all expert depositions to June 22, 2020
              be compleLed)
                                                                                                              ----i
              Defendants' sur-reply on class certification (if sought June 30, 2020
              and pennitted)                                                                                         I
                                                                                                                     !
              Motions for summary judgment and Daubert July 14, 2020                                                 I
                                                                                                                     I




                                                                                                ~
              motions

              Responses to motions for summary judgment and August 25, 2020
              Daubert motions                                                                                        '

                                                                                                                     I
              Replies in support of motions for summary judgment September 22, 2020                                  I
              and Daubert motions                                                                                    '

              Pretrial conference regarding scheduling               j At the earliest opportunity the Court
                                                                       has to meet with the parties after
                                                                       ruling on motions for summary
                                                                       judgment
              Exchange of marked trial exhibits and court 1 month after ruling on motions for
              conference regarding trial and trial submissions summary judgment

              .Joint Pretrial Memoranda in accordance with Local 2 weeks               after the      above   date
          I
              Rule Civil Procedure 16.l(c)
          I

              Plaintiffs' and Defendants' Pretrial Memoranda               I week after above date


              Cases placed on Court's trial pool                           2 weeks after above date




              Dated: October 3, 2018                            Respectfully submitted,



          Is Adee! Mangi                                        Is Ross E. Elfand



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